727 F.2d 1103
    Lee (Jeffrey H.), Humphrey (Preston G.), Franks (Michael),Holsenbeck (Edward R.), Gay (Jesse), Jones (Tommy), Wilson(Floyd), Gillespie (Beverly), Pierce (Christopher), Graham(Jesse), Ford (David M.), Riley (Melvin M.), Mull (RonaldL.), Taylor (Charles L.)v.Woodard (James)
    NO. 82-6830
    United States Court of Appeals,Fourth circuit.
    JAN 30, 1984
    
      1
      Appeal From:  E.D.N.C.
    
    
      2
      AFFIRMED.
    
    